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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
               v.                             )      No. 17-CR-297
                                              )
                                              )      Judge Sara L. Ellis
BEENA PATEL.                                  )

           DEFENDANT BEENA PATEL’S SENTENCING POSITION PAPER

       NOW COMES the Defendant, BEENA PATEL, by and through her attorneys, ANGELINI,

ORI + ABATE LAW, and in support of her Sentencing Position Paper, states as follows:

  I.    Introduction

       On April 26, 2019, the defendant, Beena Patel, was convicted after a trial by a jury of three

counts of perjury.   In Count One, Beena Patel was convicted of lying to the grand jury about

whether she either (a) knew whether Sivasubrami Rajaram (“Rajaram”) had spoken to law

enforcement, (b) that Rajaram had testified before the grand jury or (c) that Beena Patel had spoken

to Rajaram after he received a Grand Jury subpoena. As in every Count, the jury was not required

to convict Beena Patel of all of the alleged false statements in each count. A unanimous decision

on any perjured statement was sufficient. In Count Two, Beena Patel was convicted of lying to

the grand jury about whether she had sold tickets for Friends of Dorothy Brown fundraisers or that

Beena Patel knew that other employees of the Cook County Clerk’s office sold tickets to and

collected money for the fundraisers. In Count Three, Beena Patel was convicted of lying to the

grand jury about whether she asked Dorothy Brown’s Chief of Staff to help an individual obtain a

promotion or whether Beena Patel knew that this individual had received a “merit raise.”
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 II.    Corrections in the PSR

       The defendant, Beena Patel, commends the complete and thorough examination of her life,

the crime she committed, her potential sentence and the sentencing recommendation that was given

by United States Probation Officer, Rebecca Fowlie. There are a few minor corrections to the Pre-

Sentence Report that Beena Patel would like to offer, none of which are material to her sentence.


        Page 6 paragraph 11 There is an indication that Mr. Rajaram was convicted of perjury,
where in fact he actually pleaded guilty to the charge of perjury and was sentenced to probation
for his crimes.

        Page 6 paragraph 12 In the sentence, “Upon Dorothy Brown’s arrival, the defendant
asked for a position with the Clerk’s office and Ms. Brown reportedly….”, it implies that Beena
Patel asked for the position.

        The sentence should read, Upon Dorothy Brown’s arrival, Mr. Rajaram asked for a
position with the Clerk’s office and Ms. Brown reportedly….”

        Page 7 paragraph 14 The sentence reads, “….Pinal Patel’s (Individual D) brother paid
a bribe in exchange for Pinal Patel’s promotion….” It should read “….Pinal Patel’s (Individual
D) brother paid a bribe in exchange for Pinal Patel’s brother’s wife’s promotion….”

       Page 11 paragraph 55 There is a misspelling. The city in India, “Dalod” should be
“Talod.”



III.    Objections to the Offense Level Computation in the PSR

       Primarily, the United States Probation Department’s Offense Level Computation was

addressed in the PSR in pages 8 through 10.

       A.      Base Offense Level (18 U.S.C. Sec. 1623 (a)                                14

       The Defendant agrees with the Base Offense Level of 14.

       B.      Specific Offense Characteristics

       (Substantial Interference Enhancement under USSG Sec. 2J1.3(b)(2))                 3
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        The Defendant disagrees with the three (3) level enhancement for the “substantial

interference with the administration of justice.”

        Primarily, the Defendant, Beena Patel, is in no way attempting to minimize her perjured

testimony or the effect of that perjured testimony. The crime of perjury is a serious Class D felony.

In this section, Beena Patel is merely setting forth that there is no stated factual basis in either

the Government’s Version of the Offense or information provided by the investigating agencies, to

support the conclusion that the specific crimes for which Beena Patel was convicted resulted in a

“substantial interference with the administration of justice.”

        The United States Probation Department has determined that Beena Patel’s false statements

before the Grand Jury resulted in a “substantial interference with the administration of justice.”

According to the Pre-Sentence Report, Beena Patel’s lies “affected the government’s ability to file

charges against Dorothy Brown.” In that vein, according to the PSR, a three (3) level enhancement

applies under USSG Sec. 2J1.3(b)(2). From a reading of the PSR, it appears that the probation

officer found her support for the conclusion that Beena Patel’s conduct “affected the government’s

ability to file charges against Dorothy Brown” from the Government’s Version of the Offense and

information provided by Agent Harris,

        “….The government opined that her testimony was “so misleading and had contradicted
herself in so many respects that it was difficult for the Grand Jury to credit anything she said.
Agent Harris advised that the defendant and Mr. Rajaram’s lies before the Grand Jury and
convictions for such prevented the FBI from moving forward with their investigation of Dorothy
Brown.”

        In its Version of the Offense, the Government opined that because Beena Patel’s perjury,

“…resulted in substantial interference with the administration of justice (the government’s ability

to prosecute Dorothy Brown for acceptance (sic) a $15,000.00 bribe paid by Rajaram), the offense

is subject to an increase of 3 levels.”
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       While the opinions within the Government’s Version of the Offense and the information

provided by Agent Harris are consistent, they are both conclusory as to what effect Beena Patel’s

testimony had upon the Government’s ability to indict Dorothy Brown.            Ironically, as an

attachment to their Version of the Offense, the Government provided the factual basis of the type

of information that could have brought about an indictment of Dorothy Brown, when it attached

the proffered statement of Sivasubrami Rajaram (taken on November 14, 2015). In that statement,

Rajaram provided a detailed description of the “bribe” and his payments to Dorothy Brown.

Through this proffered statement, the Government provides a factually detailed account of the

$15,000.00 “bribe.” According to Rajaram, while he was signing for promissory notes with

Dorothy Brown, Rajaram’s understanding was that he was providing the money to obtain a job.

Rajaram felt that he would not obtain employment without paying the money.

       It is for the Government to prove at sentencing that Beena Patel’s perjured Grand Jury

testimony had a “substantial effect” in making Sivasubrami Rajaram’s proffer or his prospective

testimony against Dorothy Brown less credible than it would have been but for defendant’s

perjured testimony. For example, how did the Government’s job become substantially more

difficult in indicting and eventually convicting Dorothy Brown if Beena Patel lied to the grand

jury about whether she knew whether Sivasubrami Rajaram had spoken to law enforcement (Count

One)? Or about Beena’s knowledge as to whether Sivasubrami Rajaram had testified before the

grand jury (Count One)?

       Similarly in Count Two, there is no stated nexus between Beena Patel’s conviction for lying

to the grand jury about whether she had sold tickets for Friends of Dorothy Brown fundraisers and

the Government’s inability indict and eventually convict Dorothy Brown. In all candor, there has

been no showing that having Beena Patel sell fundraising tickets for Friends of Dorothy Brown is
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even an indictable offense. Again, Beena Patel is not minimizing her lies or the significance of

the lies; she is merely questioning the causal effect of whether those lies substantially made it more

difficult for the Government to indict Dorothy Brown, especially in light of the fact that Rajaram

seemed to be more than willing to offer damaging testimony against Dorothy regarding his own

payments to Brown.

        In Count Three, Beena Patel was convicted of lying to the grand jury about whether she

asked Dorothy Brown’s Chief of Staff to help an individual obtain a promotion and whether Beena

Patel knew that this individual had received a “merit raise.” Again, in neither the Government’s

Version of the Offense nor in Agent Harris’ summation to the United States Probation Department,

is there a stated nexus between Beena Patel’s perjured testimony and any indictable act, which

could have been pleaded against Dorothy Brown relating to this perjured testimony.

       C.      Multiple Count Adjustment (Section USSG Sec. 3D1.4)                            2

       The Defendant disagrees that a Multiple Count Adjustment is proper in this case.

       The United States Probation Officer details her support for the application of a USSG Sec.

3D1.4 Multiple Count Adjustment in paragraphs 23 and 24 on page 8 of the Pre-Sentence Report:

       “….23. Counts 1 and 2 are grouped for guideline calculation purposes because they
involve the same victim and two or more transactions connected by a common criminal objective
or constituting part of a common scheme or plan. USSG Sec. 3D1.2;

           24.      It is noted that Count 3 is not grouped with Counts 1 and 2 because in cases
involving perjury arising from testimony given in separate proceedings, the counts are not grouped.
USSG Se.2J1.3(d)(1). The false statements involved in Counts 1 and 2 occurred at the same Grand
Jury session on October 15, 2015, whereas the false statements involved in Count 3 occurred at a
different Grand Jury session on July 14, 2016.”

       According to the above analysis, merely because Beena Patel’s perjured testimony before

the grand jury occurred on separate dates, a Multiple Count enhancement under USSG Sec.

3D1.4(a), (b) and (c) is warranted.
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          Primarily, the United States Probation mistakenly applied USSG Sec. 2J1.3(d)(1), which

states:

          “….(d) Special Instruction

              (1)     In the case of counts of perjury or subornation of perjury arising from
testimony given, or to be given in separate proceedings, do not group the counts together under
Sec. 3D1.2 (Groups of Closely Related Counts).

          The United States Probation office determined that Beena Patel’s testimony to the same

grand jury on the same case, sitting on different dates, constituted “separate proceedings” under

USSG Sec. 2J1.3(d)(1). The Application Notes to USSG Sec. 2J1.3, however, specifically define

“separate proceedings”:

       “…Separate proceedings, as used in subsection (d)(1), includes different proceedings in
the same case or matter (e.g. a grand jury proceeding and a trial, or a trial and retrial) and
proceedings in separate cases or matters (e.g. separate trials of codefendants) but does not include
multiple grand jury proceedings in the same case.”

          Count III should not be grouped separately from Counts I and II, and the 3D1.4 Multiple

Count Adjustment is improper in this particular instance.

          D.     Offense Level Computation

          The Defendant asserts that the Adjusted Offense Level of fourteen (14) is proper, because:

(a) there is no stated factual basis for a “substantial interference with the administration of justice”

enhancement under USSG Sec. 2J1.3(b)(2) and (b) a multiple count adjustment is not proper under

USSG Sec. 2J1.3(d)(1) or USSG Sec. 3D1.4.

          The resulting Guideline Range at an Adjusted Offense Level of fourteen (14) is 15-21

months.

 IV.      A sentence of probation is an option that is available to the Court

          Statutorily:
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       Because the offense in question is a Class D felony, under 18 U.S.C. Sec. 3561(c)(1), the

defendant is eligible for not less than one (1) year but not more than five (5) years of probation as

an option on each count. One of the following must be imposed as a condition of probation unless

extraordinary circumstances exist: a fine, restitution or community service.

       Guidelines:

       Whether the Adjusted Offense Level falls within the Government’s suggested offense level

(17), the Defendant’s suggested offense level (14) or the United States Probation Officer’s

suggested offense level (19), all of the levels fall within Zone D. For the purpose of a purely

advisory guideline calculation, probation would not be available.

  V.    A sentence of three (3) years of probation is an appropriate sentence in this case.

       If the court were inclined to sentence Beena Patel to a non-custodial sentence of probation

for any length of time, the court would have to find that a sentence below the advisory guideline

range is an appropriate sentence.

       Under §3553(a), the district court’s mandate is to impose “a sentence sufficient, but not

greater than necessary, to comply with the purposes” laid out in that statute. To ascertain such a

sentence, the courts are directed to consider certain relevant factors, including (1) the nature and

circumstances of the offense, (2) the history and characteristic of the offender, (3) the need to

provide the defendant with needed medical care in the most effective manner, (4) the need to

provide just punishment for the offense, (5) the need to afford adequate deterrence, and (6) the

need to protect the public from further crimes of the defendant. 18 U.S.C. §3553(a). The court

must assess defendant’s personal characteristics aside from the offense conduct. 18 U.S.C.

§3553(a)(1).

       (1)     The nature and circumstances of the offense and the need to provide just
               punishment for the offense
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       Perjury is a Class D felony, and it is a serious offense. It is an offense, however, that, at

least statutorily, contemplates that a sentence of probation may be available for the crime(s)

committed. Beena Patel is fearful that at least from a review of the Government’s Version of the

Offense, that her sentencing hearing from the Governments’ perspective could turn into a comment

on public corruption. Beena Patel broke her oath to tell the truth before a grand jury. That oath is

identical to an oath that would have been given to her whether she was a public servant or not.

While there was not a single jury instruction, which was submitted to the jury, that referenced

whether Beena Patel was a public servant, an assistant circuit court clerk or a friend of Dorothy

Brown, Beena Patel appreciates and understands the Government’s position that her lies could

have seriously affected an investigation into public corruption.      And while that is a reality for

Beena Patel, she continues to believe and assert that a period of incarceration would be greater

than necessary to carry out the directives of 18 USC Sec. 3553(a).

       Although it is necessary for the court to provide the appropriate message to the public at

large about the sacred aspect of the oath to tell the truth, it is also important to recognize that the

court is sentencing a person. As described below, Beena Patel’s background, advanced age,

community work, and family situation all mitigate strongly in favor of the Court imposing a

probationary sentence that, while still recognizing the seriousness of the overall offense, will

appropriately account for those other important factors.

       With or without receiving a sentence that includes a period of incarceration, the seriousness

of this offense is particularly destructive for Beena Patel, because the felony conviction will

undoubtedly affect Beena Patel’s ability to realize her pension. This is a debilitating circumstance

of the crime for which Beena was convicted.
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       One of the great benefits of working almost thirty (30) years in the same clerk’s office is

that Beena Patel could enjoy the fruits of the pension that she paid into for almost thirty (30) years,

and began to realize on her retirement on August 31, 2016. As a fifty-eight (58) year old female,

Beena Patel has the natural life expectancy of an additional 26.8 years. If Beena Patel reached her

natural life expectancy, Beena’s pension would have realized over two million ($2,000,000.00)

dollars over her natural lifetime.

       On September 30, 2019, Beena Patel received a notice from the Cook County Pension

Fund, that due to her conviction under Counts I, II and III (all felonies), the County’s Retirement

Board would be holding a hearing to determine whether the facts that gave rise to Beena Patel’s

felony convictions related to Beena’s service with Cook County. The hearing was set for

November 7, 2019.      Over the past several weeks, attorney Donald J. Angelini, Jr. has been in

contact with Margaret M. Fahrenbach, Esq. the attorney for the Cook County Pension Fund. It

was agreed that since this was an issue that did not require an evidentiary hearing (Beena’s pension

was being suspended and eventually revoked due to a conviction), Beena Patel would submit her

position in writing to be presented before the Cook County Pension Fund Board. (See attached as

Exhibit “A”)

       The statutory language, which adjudicates Beena Patel’s rights to her pension, is found in

the Illinois Pension Code, 40 ILCS 5/9-235:

       “…. Felony Conviction. None of the benefits provided in the Article shall be paid to any
person who is convicted of any felony relating to or arising out of or in connection with his
service as an employee.”

       The language, “relating to or arising out of or in connection with his service as an

employee” is broad and potentially devastating to any attempt that Beena Patel would have in

saving her pension. According to Ms. Fahrenbach, it will be the position of the Pension Board
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that the convictions “related or arose out” of Beena Patel’s employment and that Beena’s pension

is suspended following November 7, 2019, no matter what Ms. Patel or her attorneys present by

way of legal argument. Beena Patel’s last $7,287.00 monthly pension benefit was paid on

November 1, 2019. While this financial loss is a collateral loss for the crime which Beena Patel

committed, there is no question that Beena Patel has and will continue to suffer from the

consequences of her actions in submitting false testimony to a grand jury, with or without serving

a period of incarceration.

       (2)     The history and characteristics of the defendant

       Beena Patel was born in 1961 in Talod, Gujarat, India to Ashabhai and Sumitra Patel.

Beena’s father died when she was just six (6) years old. Beena was one of six (6) children, four

(4) of which, including herself, are alive. She maintains a good relationship with each one of her

siblings. Beena was primarily raised by her mother, living in Ahmedabad, India, until she was

five (5) years old, and then living in Nar, India, until she was eighteen (18) years old. Beena and

her mother were financially supported by Beena’s uncles growing up.

       As stated in the Pre-Sentence Report, Beena’s faith has always been very prominent in her

life. During her childhood, approximately twenty women would visit Beena’s home every night

for a religious meeting and reading. Beena would perform devotional songs on religious holidays

for this group. Beena’s mother played a vital role in her spiritual and religious upbringing.

Currently, Beena visits her temple on Sundays and serves in its cafeteria as a way of giving back

to her community.

       Education was also very important to Beena. She diligently studied in order to be the top

student in her class and received the charitable fund for girls in her school. When Beena was

awarded money for being at the top of her class, she gave the earnings to her mother. Beena
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graduated first in her class at Nar High School.        Beena attended a nearby college, Nadiad

Commerce College, and lived with her maternal uncle for the duration of her college education.

Beena transferred from this college after one year, and then attended Navgujarat College where

she received her bachelor’s degree in commerce, accounting, and auditing. Beena has always

worked hard for her family and volunteered continuously for her community. Even at a young age,

Beena helped elderly women in her community, for which she received payments in fruits.

Following college, Beena Patel worked within the banking system.

       Beena married her husband, Dixit Patel, an arranged marriage, on February 23, 1984 in

Ahmedabad, India. They lived many months apart, until Beena obtained a Visa and reunited with

her husband in Chicago, Illinois, approximately fifteen (15) months after their marriage. While

Beena and her husband were part of an arranged marriage, Dixit Patel is the love of Beena’s life.

Dixit Patel has shown Beena Patel constant support and love throughout this criminal process.

       Once Beena arrived in the United States, she continued her education by enrolling in

classes at Truman College. While in school, she also worked as a typing lab instructor. More

recently, Beena completed an online course about the foundations of being a teacher.

       Beena is a mother.




       For the first fifty-five (55) years of her life, Beena Patel had never been arrested or accused

of any crime. Beena Patel has always maintained full-time employment, and has always worked

to provide for her family. Beena Patel has worked to support herself, her husband, their son, her

in-laws and until recently, her mother (now deceased) in her home at 6246 North Leona Avenue,

Chicago, Illinois 60646. While many individuals have either cared for or provided a home for (a)
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their in-laws or (b) their own parents for extended periods of time, few have provided a home for

both.

        For over 20 years, Beena was providing a home and constant support for both her mother,

and her in-laws, who are both over the age of 80. If Beena is incarcerated, it would provide a

substantial burden for the Patel family in attempting to provide care for Beena’s in-laws who have

historically heavily relied upon Beena for their care, financial support and treatment. Not only has

Beena cared for her own family and her husband’s family, but countless letters speak to Beena’s

contributions to her friend’s parents when they were in poor health.

        Beena Patel, having become discontent with retirement, is currently working at Best Brains

Buffalo Grove, which is an after school learning center. Best Brains Buffalo Grove helps students

achieve better grades through building their confidence. Beena has dedicated much of her time to

Best Brains Buffalo Grove, and has made numerous friendships there.

        Beena is a prevalent force in the Indian community, especially with those who emigrated

from the region of Gurat, India. Throughout the years, Beena has worked with countless

organizations and held positions on many boards. Some of the volunteer work she has undertaken

is through the Metropolitan Asian Family Services (MAFS), Association of Indian Americans

(AIA), the Gujarati Samaj, BAPS, Freedom from Hunger.

        It is typical for the court to receive letters of character from the friends and family in

relation to the sentencing of any defendant. In this case, the Defendant is submitting thirty-seven

(37) letters from her family members and friends. In a very real manner, the defendant is described

as the matriarch and guidance of a great family. She is looked upon as a “mother figure” and a

leader to everyone within her community. There are a number of letters and newspaper clippings

that illustrate the community work that defendant has engaged in over the years. The
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aforementioned letters and newspaper clippings are attached as Exhibit “B” and Exhibit “C”,

respectively. Beena’s acts of kindness in the community are boundless.

       A highlight of some of the letters of character are as follows:

                                            Dixit Patel

Dixit Patel is Beena’s husband of 34 years. He describes Beena’s upbringing and her hard work to
accomplish her education, and then describes her promotions through the Clerk of the Circuit
Court. Mr. Patel describes Beena as her mother and his parents’ life lines. Mr. Patel cannot
remember a single person that Beena has declined to help. He is proud of his wife for taking pride
and satisfaction in helping and making a difference in someone’s life.

                                         Ashish D. Patel

Ashish Patel is Beena’s son. He states that his mother has done her best to ensure that anyone in
their community stayed out of hardship and poverty. She uses her privilege to help others. Beena
has been a supportive and positive influence throughout her son’s life. Beena’s son says that his
mother has never been one to ignore responsibilities, and is more than willing to face the
consequences of her actions. Finally, Beena’s son believes his mother will leave a lasting impact
on the world for good and that whatever lies ahead of her will motivate her to be a moral and
supportive person.

                                  Ghanshyam N. Pandey, Ph.D.

Dr. Ghanshyam N. Pandey is the Chairman of the Board of Trustees of the Association of Indians
in America (AIA), Illinois Chapter. Dr. Pandey describes Beena’s involvement in AIA as the Vice
President and President, and stated that Beena brought a lot of energy and assets to the
organization. Dr. Pandey described Beena as a pleasant person who is committed to volunteer for
the community, and would offer to help with any personal need.


                                        Jitendra Punjabi

Jitendra Punjabi is a retired Cook County employee. He describes Beena taking care of three (3)
senior citizens within her home, even while going through a difficult time of her own. Mr. Punjabi
further describes Beena as a warmhearted and genuine leader and volunteer.

                                     Sowmya Sounderrajan

Sowmya Sounderrajan is one of Beena’s coworkers at Best Brains Learning Center. She describes
Beena as dependable, calm, and collected, even under stressful situations.
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                                         Sonal Patel, M.D.

Doctor Sonal Patel has known Beena for over 20 years in many different capacities. Dr. Patel
describes Beena as someone who provides great humanitarian services with a pleasant and friendly
personality and positive attitude. Dr. Patel further describes Beena as someone who takes pride in
helping people in need and whose only reward she receives is the satisfaction that she receives
from putting a smile on people’s faces. Dr. Patel speaks about all of the senior citizens that Beena
has helped, including Dr. Patel’s father-in-law, and especially Beena’s own mother and her in-
laws. Finally, Dr. Patel describes Beena as a loyal employee and someone who gives 100% when
she is given any responsibility.

                                          Neelam Ganger

Neelam Ganger has been friends with Beena for the last fifteen years. Ms. Ganger describes Beena
as someone that has been there for her in countless ways over the course of their friendship. Ms.
Ganger states that Beena is remorseful, but that she is already paying for her actions as she has lost
her credentials within their community. Ms. Ganger believes their community will be at a loss
without Beena.

                                          Paulomi Shukla

Paulomi Shukla is Beena’s first cousin. Paulomi Shukla describes Beena as someone that both her
family members and friends look up to for her work ethic, honesty, and dedication. Paulomi Shukla
also describes Beena as someone who is always there for everyone without any kind of expectation
in return. Finally, she states that Beena’s contribution to the Indian community is remarkable: she
will go above and beyond to make sure anyone is helped.

                                            Praful Patel

Praful Patel is Beena’s aunt. Ms. Patel describes Beena as fair, selfless, and compassionate. She
describes the way in which Beena takes care of her mother and in-laws, and how all three seniors
are happy, healthy, and well taken care of.

                                            Pallavi Patel

Pallavi Patel is one of Beena’s friends. Ms. Patel described a situation where Ms. Patel was
diagnosed with breast cancer and was very depressed after her mastectomy. Beena went to visit
her in her home, and told her they were going to celebrate Ms. Patel’s life. Ms. Patel said that
Beena took her out to lunch and pulled her out of a serious depression. Ms. Patel considers it her
privilege to have Beena as a friend.

                                        Suchana Chatterjee

Suchana Chatterjee is one of Beena’s recent coworkers. Ms. Chatterjee describes Beena’s selfless
acts, including that when Beena found out that Ms. Chatterjee that she was unable to get to her
job, Beena started to pick her up and drive her to work every day. Beena still drives Ms. Chatterjee
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to work every day. Beena also inspired Ms. Chatterjee to further her education and take a class
with her. Ms. Chatterjee describes Beena as inspiring, and that there is no barrier of age, social
status, or position with Beena.

                                          Suresha Patel

Suresha Patel is the wife of Beena’s late cousin. Ms. Patel describes Beena as someone who speaks
respectfully to all, youn and old, and is loved by every member of their family regardless of age.
Ms. Patel’s husband died in 1991, and Beena has upheld every tradition that a sister would take
care of in Ms. Patel’s family. Ms. Patel describes Beena as a gentle, well-spoken, educated woman.
Finally, Ms. Patel talks about all of the ways that Beena has influenced her family traditions and
celebrations. Beena has made their occasions special, whereas everyone else had just followed the
same routine in a mundane way.

                                          Ruchi Saxena

Ruchi Saxena is Beena Patel’s current boss at Best Brains Buffalo Grove. Ms. Saxena describes
Beena as going above-and-beyond in managing daily operations, and more than just a team
member to every person at work. Beena is like a guide, an elder sister, and a family friend to
everyone at work.

                                 Ambassador Ashok Kumar Attri

Ambassador Ashok Kumor Attri was the Consul General of India in Chicago who knows Beena
because of her diverse services to the Indian American community. Beena has been an active part
in various not-for-profit social services and charitable organizations including: Metropolitan Asian
Family Services (MAFS), Association of Indian Americans (AIA), the Gujarati Samaj, BAPS,
Freedom from Hunger, and others. Ambassador Attri describes Beena as cheerful, keen, and an
enthusiastic member of the society to which she contributed. Ambassador Attri describes Beena
as someone he could never believe would do anything against the law to obtain any personal
benefit, and assures this Court that if she committed any mistake, it is because she has a simple,
trusting, and sincere nature.


        (3) the need to afford adequate deterrence and the need to protect the public from further
crimes of the defendant.

       There exists a certain synergy between: (a) the characteristics of the defendant and (b) the

need to afford adequate deterrence and the need to protect the public from the further crimes of the

defendant. Defendant is in concert with the United States Probation Department who evaluated

the issues of “need for adequate deterrence” and the “need to protect the public from further

crimes.” Based upon all of the information that was provided to and gathered by the United States
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Probation Department, the letters of character that were submitted in Beena’s behalf, Beena’s age,

educational background, lack of criminal background and community involvement, these two

factors concerning “deterrence” and “need to protect” may weigh the most heavily in favor of

Beena Patel in a determination of whether to impose a below the guideline range sentence.

       VI.     Conclusion

       For reasons stated above, Defendant, Beena Patel, prays this Court to consider the

imposition of a sentence that does not include a period of incarceration. More specifically, Beena

Patel prays that this court impose a sentence of three (3) years probation with a fine of $10,000.00.

Date: Tuesday, November 5, 2019                               Respectfully Submitted,

                                                              By:   /s/ Donald J. Angelini, Jr.
                                                                      Attorney for Beena Patel

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